             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                            AT GREENEVILLE




UNITED STATES OF AMERICA                     )
                                             )
v.                                           )      No. 2:08-CR-39
                                             )
BOBBY JOE AMBROSE                            )




                         MEMORANDUM AND ORDER



             This criminal case is before the court on the defendant’s motion to

revoke the magistrate judge’s detention order [doc. 68]. On July 3, 2008,

Magistrate Judge Dennis Inman entered an order detaining the defendant

pending trial in this methamphetamine case [doc. 49]. Magistrate Judge Inman

found that there was probable cause to believe that the defendant had

committed a drug offense for which the punishment was ten years or more, that

the defendant had not rebutted the presumption that there was no condition or

combination of conditions that would reasonably assure the appearance of the

defendant or the safety of the community, and that the defendant has an

extensive criminal record including a federal conviction for being a felon in

possession of a firearm and for failing to appear. Magistrate Judge Inman also

found, based on the testimony at the detention hearing, that it appeared that the



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defendant attempted to reach for a firearm when a search warrant was executed

in the garage where the defendant was allegedly manufacturing

methamphetamine.

             It is this last finding that the defendant now disputes. He argues that

the officers involved in the search would now testify that the defendant was never

at large in the garage after they approached him, making his access to a firearm

an impossibility. Further, much of the evidence concerning the manufacture of

methamphetamine related to his co-defendant, not him. He contends that this

court should set conditions of release, especially in light of the pretrial officer’s

recommendation that he be released on bond.

             The court disagrees with the defendant’s contention. Like the

magistrate judge, who on rehearing accepted that the testimony of the officers

would be as the defendant describes it, this court finds that the defendant has

not rebutted the presumption that he should be detained. 18 U.S.C. § 3142(e).

The defendant is charged with five counts: conspiracy to distribute

methamphetamine, conspiracy to manufacture methamphetamine, possession of

equipment, chemicals, etc. used to manufacture methamphetamine, maintaining

a residence for the purpose of manufacturing, distributing, and using

methamphetamine, and possession of a firearm in furtherance of a drug

trafficking offense. These charges, if proven, could result in a very lengthy

sentence for the defendant. He has nineteen prior convictions for both felonies

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(e.g., aggravated burglary and felon in possession of a firearm) and

misdemeanors (e.g., speeding and public drunkenness), and about fifteen other

arrests. This criminal history includes convictions for evading arrest and failing to

appear. The statutory presumption has not been rebutted, and the court finds

that there is no condition or combination of conditions that will assure the safety

of the community if the defendant is released.

             Therefore, it is hereby ORDERED that the defendant’s motion is

DENIED, and the defendant shall remain detained until the trial or other

disposition of this case.



                                               ENTER:



                                                      s/ Leon Jordan
                                               United States District Judge




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